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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

FYF-JB, LLC,

                       Plaintiff,

       v.                                                    Civil Action No. 1:19-cv-02608

PET FACTORY, INC.,                                           Judge Thomas M. Durkin

                       Defendant.




               PET FACTORY, INC.'S OPPOSED MOTION TO DISMISS
            PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

       Defendant Pet Factory, Inc., by and through the undersigned counsel, respectfully

requests that this Court grant its Motion to Dismiss Pursuant To Federal Rule of Civil Procedure

12(b)(6). The grounds for this motion are set forth in Pet Factory's opening brief in support of

the motion submitted herewith.'




1 On June 26, 2019 attorneys for the parties met and conferred in a telephone conference under
Local Rule 37.2 and this Court's general case mangement motion practice but no agreement on
Defendant's present motion was reached and Plaintiff opposes this motion.

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Dated: July 2, 2019                        Respectfully submitted,

                                           Is! James P. Hanrath

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                              CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing document was served via CM/ECF on July 2, 2019

upon all counsel of record.


                                    Is! James P. Hanrath
                                      James P. Hanrath




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